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 1   HEATHER E. WILLIAMS, CA Bar #122664
     Federal Defender
 2   REED GRANTHAM, CA SBN #294171
     Assistant Federal Defender
 3   Office of the Federal Defender
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorney for Defendant
     RAFAEL SANCHEZ, JR.
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                      Case No. 1:18-cr-00073-LJO-SKO
12                     Plaintiff,                    WAIVER OF DEFENDANT’S PERSONAL
                                                     PRESENCE; ORDER THEREON
13    vs.
14    RAFAEL SANCHEZ, JR.,
                                                     Hon. Sheila K. Oberto
15                     Defendant.
16
17
18          Pursuant to Federal Rule of Criminal Procedure 43(b)(2), Defendant Rafael Sanchez, Jr.,
19   having been advised of his right to be personally present at all stages of the proceedings, hereby
20   requests that this Court permit him to waive his right to personally appear for any appearance and
21   all proceedings in this matter. Mr. Sanchez agrees that his interests shall be represented at all times
22   by the presence of his attorneys from the Office of the Federal Defender for the Eastern District of
23   California, the same as if Mr. Sanchez were personally present. This Court has the discretion under
24   Rule 43(b)(2) to permit the defendant’s absence.
25   //
26   //
27   //
28   //
     Case 1:18-cr-00073-JLT-SKO Document 135 Filed 10/30/18 Page 2 of 2


 1                                                Respectfully submitted,
 2
                                                  HEATHER E. WILLIAMS
 3                                                Federal Defender
 4
 5   Date: October 26, 2018                       /s/ Reed Grantham
                                                  REED GRANTHAM
 6                                                Assistant Federal Defender
                                                  Attorney for Defendant
 7                                                RAFAEL SANCHEZ, JR.
 8
 9            I consent to the above.
10   Dated: October 26, 2018                      Original signature on file
                                                  RAFAEL SANCHEZ, JR.
11                                                Defendant
12
13
14
15                                              ORDER
16            GOOD CAUSE APPEARING, the Court grants the Defendant’s request for waiver of his
17   personal appearance for all proceedings consistent with the provisions of Federal Rule of Criminal
18   Procedure 43(b)(2).
19
20   IT IS SO ORDERED.
21
     Dated:     October 30, 2018                                 /s/   Sheila K. Oberto            .
22                                                       UNITED STATES MAGISTRATE JUDGE
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                                                     2
     Sanchez: Rule 43 Waiver
